                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



PARTS iD, LLC, a New Jersey limited liability
company,
Plaintiff,
                                                          Civil Action No. 20-cv-11253-RWZ
    v.

IDPARTS LLC, a Massachusetts limited liability
company,
Defendant.




                           JOINT MOTION FOR EXTENSION OF TIME

         Plaintiff/Counterclaim Defendant PARTS iD, LLC and Defendant/Counterclaim Plaintiff

IDParts LLC, through counsel, jointly agree and stipulate to the further extensions of certain

deadlines to permit the parties to complete party depositions in advance of discovery deadlines.

In view of the upcoming discovery deadlines, the parties jointly request that the Court modify the

schedule through and including the below dates. The parties ask that the below proposed

schedule take precedent over the previously proposed schedule, which was filed on February 14,

2022 (Dkt. 78).

                                        Current Deadline
              Event                                                     Proposed Deadline
                                          (Dkt. No. 28)

 Completion of Discovery
                                        February 24, 2022                  May 16, 2022
 Deadline

 Deadline for Daubert
 Motions and Dispositive                February 24, 2022                  June 13, 2022
 Motions

 Responses                               March 17, 2022                     July 5, 2022
 Reply                                    March 28, 2022                     July 18, 2022

                                            May 4, 2022
                                                                       August 29, 2022, or at the
 Final Pretrial Conference
                                                                         Court’s convenience


                                        TBA at Final Pretrial            TBA at Final Pretrial
 Trial Date and Length
                                           Conference                       Conference


         The parties filed a Joint Stipulated Motion for an Extension of Time on September 24,

2021 (Dkt. 71) and the Court granted the request on September 30, 2021 (Dkt. 73). The parties

then filed a second Joint Stipulated Motion for an Extension of Time on February 14, 2022 (Dkt.

78). Though that Stipulated Motion is still pending before the Court, by agreement of the parties,

the parties have continued to work diligently to complete remaining discovery under their

proposed schedule, and have taken, and are continuing to take, expert depositions. Counsel for

the parties are continuing to work to find mutually agreeable dates to the remaining fact and

expert depositions.

         With regard to the depositions, the parties’ ability to proceed with scheduling depositions

for two fact witnesses, namely Steven Royzenshteyn and Roman Gerashenko, remains outside

their control. Messrs. Royzenshteyn and Gerashenko are the founders of plaintiff PARTS iD

LLC and PARTS iD identified them in its Initial Disclosures as individuals likely to have

discoverable information that PARTS iD may use to support its claims. While it does not object

to their depositions, PARTSiD has indicated that it will not be calling them at trial. However,

Messrs. Royzenshteyn and Gerashenko are no longer employed by PARTS iD. Messrs.

Royzenshteyn and Gerashenko individually moved to quash IDParts’ subpoenas in the U.S.

District Court for the District of New Jersey and the parties are waiting for that court to issue a




                                                  2
decision on the motion, which they hope to receive soon. See PARTS ID, LLC v. IDPARTS, LLC,

D.N.J. Case No. 3:21-cv-19229-ZNG-LHG.

       Although the parties remain hopeful that the depositions of fact witnesses can be

completed promptly, it is possible that a ruling on the pending Motion to Quash Subpoenas will

be issued with enough time to schedule the depositions by the proposed May 16, 2022 deadline.

In the event the parties are still awaiting a ruling on the Motion to Quash Subpoenas, IDParts

reserves its right to seek additional relief from this Court to allow it to take the depositions of

Messrs. Royzenshteyn and Gerashenko and to attend to any additional discovery that may arise

as a result of information gained through these depositions.

       The parties therefore respectfully request that the Court enter the proposed order lodged

herewith extending all scheduling deadlines.



  Respectfully submitted,



  /s/ John Strand                                      /s/ Aaron P. Bradford
  John Strand (BBO #654985)                            Aaron P. Bradford, Pro Hac Vice
  jstrand@wolfgreenfield.com                           1560 Broadway, Suite 1200
  Tonia A. Sayour, Pro Hac Vice                        Denver, CO 80202
  tonia.sayour@wolfgreenfield.com                      (303) 325-5467
  WOLF, GREENFIELD & SACKS, P.C.                       abradford@sheridanross.com
  600 Atlantic Avenue
  Boston, MA 02210                                     Daniel J. Cloherty (BBO #565772)
  617.646.8000 Phone                                   Christian G. Kiely (BBO #684308)
  617.646.8646 Fax                                     TODD & WELD LLP
                                                       One Federal Street, 27th Floor
                                                       Boston, MA 02110
  Counsel for IDParts LLC                              (617) 720-2626
                                                       dcloherty@toddweld.com
                                                       ckiely@toddweld.com

                                                       Counsel for PARTS iD, LLC

  Dated: April 12, 2022

                                                   3
                                CERTIFICATE OF SERVICE
        I certify that this document is being filed through the Court’s electronic filing system,
which serves counsel for other parties who are registered participants as identified on the Notice
of Electronic Filing (NEF). Any counsel for other parties who are not registered participants are
being served by first class mail on the date of electronic filing.


                                                     /s/ John Strand
Dated: April 12, 2022                                John Strand




                                                4
